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   1   Christopher J. Lovrien (State Bar No. 230546)
       Email: cjlovrien@JonesDay.com
   2   Brian Hershman (State Bar No. 168175)
       Email: bhershman@JonesDay.com
   3   JONES DAY
       555 South Flower St.
   4   Fiftieth Floor
       Los Angeles, CA 90071
   5   Telephone: (213) 489-3939
       Facsimile: (213) 243-2539
   6

   7   Attorneys for Defendants
       AHMED AL-RUMAIHI & AYMAN SABI
   8

   9                        UNITED STATES DISTRICT COURT
  10                       CENTRAL DISTRICT OF CALIFORNIA
  11                                 WESTERN DIVISION
  12

  13   BIG3 LLC, a limited liability company; CASE NO. 2:18-cv-3466
       O'Shea Jackson a/k/a Ice Cube, an
  14   individual; and Jeff Kwatinetz, an
       individual;                            DECLARATION OF AHMED AL-
  15                                          RUMAIHI IN SUPPORT OF
                                              NOTICE OF REMOVAL OF
  16                   Plaintiffs,            CIVIL ACTION PURSUANT TO
                                              28 U.S.C. §§ 1332, 1441, AND 1446
  17          v.
                                              FAC Filed: April 6, 2018
  18   Ahmed Al-Rumaihi, an individual;
       Faisal Al-Hamadi, an individual;       Hearing Date:
  19   Ayman Sabi, an individual; Sheikh
       Abdullah bin Mohammed bin Sau Al       Time:
  20   Thani, an individual and as CEO of
       Qatar Investment Authority; DOES 1-
  21   100
  22                   Defendants.
  23

  24         I, Ahmed Al-Rumaihi, declare as follows in support of removal:
  25         1.    I have direct and personal knowledge of the facts set forth herein based
  26   on my recollection, personal experience, and my review of business records related
  27

  28
                                                             DECLARATION OF AHMED AL-RUMAIHI ISO
                                                            NOTICE OF REMOVAL OF ACTION - CASE NO.
Case 2:18-cv-03466-DMG-SK Document 1-3 Filed 04/25/18 Page 2 of 4 Page ID #:227



   1   to this case, and, if called and sworn as a witness, I could and would competently
   2   testify to the fact set forth herein.1
   3          2.     I am one of three members of Sport Trinity, LLC (“Sport Trinity”), a
   4   limited liability company organized under the laws of the state of Delaware. The
   5   other two members of Sport Trinity are Ayman Sabi and Faisal Al-Hamadi.
   6          3.     Faisal Al-Hamadi, Sheikh Abdullah bin Mohammed bin Sau Al Thani,
   7   and Akbar Al Baker are, and always have been, citizens of Qatar. To my
   8   knowledge, they are not, and never have been, lawful permanent residents of the
   9   United States or domiciled anywhere in the United States.
  10          4.     I am, and always have been, a citizen of Qatar, where I have
  11   established my permanent home and intend to remain indefinitely. I understand
  12   Qatar to be my domicile.
  13          5.     I am not, and never have been, a United States citizen or domiciled
  14   anywhere in the United States.
  15          6.     Although I am a holder of a B-1 visa, I am not, and never have been, a
  16   lawful permanent resident of the United States.
  17          7.     Although my family and I have recently leased rental properties in
  18   California, I typically stay in New York City, New York and Washington, D.C.
  19   when visiting and working in the United States.
  20          8.     I am not, and never have been, a permanent resident of the state of
  21   California, the state of New York, or the District of Columbia, nor have I ever
  22   considered California, New York, or the District of Columbia to be my domicile.
  23          9.     Sport Trinity has never been affiliated in any way with BIG3 LLC.
  24          10.    I personally have never been affiliated in any way with BIG3 LLC.
  25          11.    To my knowledge, no other defendant in this action has ever been
  26   affiliated with BIG3 LLC.
  27
              1
               Capitalized terms not defined herein have the meaning attributed to them in
  28   the Notice of Removal.
                                                  2            DECLARATION OF AHMED AL-RUMAIHI ISO
                                                              NOTICE OF REMOVAL OF ACTION - CASE NO.
Case 2:18-cv-03466-DMG-SK Document 1-3 Filed 04/25/18 Page 3 of 4 Page ID #:228



   1         12.    On July 14, 2017 Sport Trinity made a substantial investment in BIG3
   2   Basketball LLC to obtain a 15.03% membership interest in the company. At that
   3   time, I was designated by Sport Trinity as a member of the Board of Managers for
   4   BIG3 Basketball LLC. Ayman Sabi was designated as a Board Observer of BIG3
   5   Basketball LLC.
   6         13.    Since before the Complaint was filed in the Superior Court of
   7   California on April 5, 2018, BIG3 Basketball LLC and its members have purported
   8   to oust Sport Trinity from the company. Since that time, BIG3 Basketball LLC has
   9   maintained that Sport Trinity never had any membership interest in the company,
  10   that I am not a member of the Board of Managers, and that Ayman Sabi is not a
  11   Board Observer.
  12         14.    On April 6, 2018, Sport Trinity served a demand for books and records
  13   on BIG3 Basketball LLC, which was signed by Ayman Sabi and me. The demand
  14   included Sport Trinity’s grievances against the BIG3 Basketball LLC, including the
  15   gross mismanagement and erratic behavior of plaintiff Jeff Kwatinetz.
  16         15.    On April 11, 2018, BIG3 Basketball LLC responded to Sport Trinity’s
  17   demand by refusing Sport Trinity’s request to access books and records of the
  18   company claiming that Sport Trinity “(1) owns no Class A Units in BIG3 and (2) is
  19   not a member of BIG3.”
  20         16.    I consent to and join in the removal of the Superior Court action to
  21   federal court.
  22

  23   //
  24   //
  25   //
  26   //
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                                                  3           DECLARATION OF AHMED AL-RUMAIHI ISO
                                                             NOTICE OF REMOVAL OF ACTION - CASE NO.
Case 2:18-cv-03466-DMG-SK Document 1-3 Filed 04/25/18 Page 4 of 4 Page ID #:229




                 2
                           I declare under the penalty of perjury and under the laws of the United States
                3
                     of America that the foregoing is true and correct.
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                           Executed this   Q '-(J~ day of April, 2018, at--=-------.:..~- - = - - - - - - -
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                                                              4              DECLARATION OF AHMEDAL-RUMAIHI ISO
                                                                            NOTICE OF REMOVAL OF ACTION. CASE NO
